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                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION
BRIANNA BOE, et al.,                       )
                                           )
        Plaintiffs,                        )
                                           )
v.                                         )       Case No. 2:22-cv-184-LCB
                                           )
STEVE MARSHALL, et al.,                    )
                                           )
        Defendants.                        )

                                     ORDER

       Respondent Scott McCoy has notified the Court that he may be unavailable

for tomorrow’s hearing and asks for leave to be conditionally excused. (Doc. 538)

The notice reports that Mr. McCoy’s mother has suffered a brain bleed, and though

her condition appears to have stabilized, he would like the freedom to be with her if

her condition deteriorates. Id. Under these circumstances, the Court would not wish

Mr. McCoy to give a second thought to tomorrow’s hearing and unconditionally

excuses him from attending.

       DONE and ORDERED this May 22, 2024.



                                    _________________________________
                                    LILES C. BURKE
                                    UNITED STATES DISTRICT JUDGE
